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 7

 8                                 UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11    CORNERSTONE ONDEMAND, INC., a                    Case No.: 2:20-cv-10435-CAS-MRWx
      Delaware corporation,
12                                                     (Assigned to District Judge Christina A.
                               Plaintiff,              Snyder)
13
                         vs.
14                                                     ORDER ON STIPULATED
      KNAPE & VOGT MANUFACTURING                       DISMISSAL WITH PREJUDICE
15    COMPANY, a Michigan domestic profit
      corporation; and DOES 1 through 10,
16    inclusive,
17                             Defendants.
18

19

20                      IT IS SO ORDERED that this matter is dismissed WITH PREJUDICE.
21
     Each Party shall bear its own attorney fees and costs.
22

23

24 Dated: October 27, 2021                   ___                          __________
25
                                                    Christina A. Snyder
26

27

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     {00677796 DOCX}                               1
                                                   STIPULATED DISMISSAL WITH PREJUDICE
                                                          CASE NO.: 2:20-CV-10435-CAS-MRW
